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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Adam Gray
                                    Plaintiff,
v.                                                       Case No.: 1:18−cv−02624
                                                         Honorable John Z. Lee
Elizabeth K. Barton, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 2, 2020:


         MINUTE entry before the Honorable John Z. Lee: The Court has reviewed the
status report.The Court orders the parties to file a joint written status report by 12/30/20.
The report, which shall be as concise as possible, shall set forth: (1) the current deadlines
imposed by the Court and whether the matter has been referred to the Magistrate Judge in
any fashion (e,g., for discovery supervision; for resolution of a motion; for settlement;
etc.); (2) the progress of discovery, if discovery is ongoing; (3) the status of briefing on
unresolved motions, if any; (4) whether the parties have engaged or are engaging in
settlement discussions and the status of those discussions; (5) for cases without any future
court dates, an agreed proposed schedule; (6) for cases that have future court dates and if
the parties believe there is good cause to extend the current deadlines, a proposed
amended schedule and the basis for the request; (7) a request for any agreed action that the
Court can take without a hearing; (8) and whether the parties believe a telephonic hearing
or in−person hearing is necessary within the next 60 days, and, if so, the issue(s) that
warrants discussion and the parties' respective positions. Mailed notice(ca, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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